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                  Exhibit “C”
Compact of Self-Governance Between
  The Washoe Tribe of Nevada and
 California and The United States of
              America
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